                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


    In re:                                                       Chapter 11

    REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-CRJ11
    et al.,1
                                                                 Jointly Administered
                                Debtors.


                NOTICE OF COMMENCEMENT OF CHAPTER 11 BANKRUPTCY
              CASES, MEETING OF CREDITORS AND FIXING OF CERTAIN DATES

         On July 27, 2020, Remington Outdoor Company, Inc. and its affiliated debtors and debtors
in possession (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”). The Debtors
and their respective chapter 11 case numbers (collectively, the “Chapter 11 Cases”) and the last
four digits of their respective federal tax identification numbers, are:

    Debtor Name                                            Case No.                   Tax Identification No.
    Remington Outdoor Company, Inc.                        20-81688-CRJ11             4491
    FGI Holding Company, LLC                               20-81689-CRJ11             9899
    FGI Operating Company, LLC                             20-81690-CRJ11             9774
    Barnes Bullets, LLC                                    20-81691-CRJ11             8510
    Remington Arms Company, LLC                            20-81692-CRJ11             0935
    Huntsville Holdings LLC                                20-81693-CRJ11             3525
    TMRI, Inc.                                             20-81694-CRJ11             3522
    Remington Arms Distribution Company, LLC               20-81695-CRJ11             4655
    32E Productions, LLC                                   20-81696-CRJ11             2381
    Great Outdoors Holdco, LLC                             20-81697-CRJ11             7744
    RA Brands, L.L.C.                                      20-81698-CRJ11             1477
    FGI Finance, Inc.                                      20-81699-CRJ11             0109
    Outdoor Services, LLC                                  20-81700-CRJ11             2405




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
(3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
AL 35824.



43921966 v1

Case 20-81688-CRJ11              Doc 185 Filed 08/04/20 Entered 08/04/20 16:08:12                           Desc
                                   Main Document    Page 1 of 3
       The location of the Debtors’ corporate headquarters and the Debtors’ service address is:
100 Electronics Boulevard SW, Huntsville, AL 35824.

        COMMENCEMENT OF CASES. Petitions under chapter 11 of the Bankruptcy Code
have been filed in the United States Bankruptcy Court for the Northern District of Alabama (the
“Court”) by the Debtors. You will not receive notice of all documents filed in the Chapter 11
Cases. All documents filed with the Court in the Chapter 11 Cases, including schedules of the
Debtors’ assets and liabilities, are available for inspection at the Office of the Clerk of the Court
(the “Clerk’s Office”). In addition, such documents may be available at www.alnb.uscourts.gov.
A PACER password is needed to access these documents and can be obtained from the PACER
Service Center at www.pacer.psc.uscourts.gov. In addition, such documents are or will be
available through the website of Prime Clerk LLC (“Prime Clerk”), the Debtors’ claims and
noticing agent in the Chapter 11 Cases, at https://cases.primeclerk.com/RemingtonOutdoor, or by
contacting Prime Clerk at (877) 755-3450 (US/Canada Toll Free Number) or (347) 338-6538
(International Toll Number).

       DATE, TIME AND LOCATION OF MEETING OF CREDITORS. September 1,
2020, 10:00 a.m. CDT. The Section 341 Meeting of Creditors will be held telephonically.
Creditors wishing to attend the Meeting should use the following dial-in information: 1-888-363-
4749 (call-in number); 2940997 (access code).

        MEETING OF CREDITORS. The Debtors’ representative, as specified in rule 9001(5)
of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), is required to appear at
the meeting of creditors on the date and at the place set forth above for the purpose of being
examined under oath. Attendance by creditors at the meeting is welcomed, but not required. The
meeting may be continued or adjourned from time-to-time by notice at the meeting, without further
written notice to the creditors.

       DEADLINE TO FILE A PROOF OF CLAIM. Notice of this deadline will be sent or
published by and through a separate notice.

        DEADLINE TO FILE A COMPLAINT TO DETERMINE DISCHARGEABILITY
OF CERTAIN DEBTS: On the date that is sixty (60) days after the first scheduled meeting of
creditors pursuant to section 341 of the Bankruptcy Code.

      NAME, ADDRESS AND TELEPHONE NUMBER OF CHAPTER 11 TRUSTEE.
None appointed to date.

          PROPOSED COUNSEL FOR THE DEBTORS.

 O’MELVENY & MYERS LLP                                     BURR & FORMAN LLP
 Stephen H. Warren (admitted pro hac vice)                 Derek F. Meek
 Karen Rinehart (admitted pro hac vice)                    Hanna Lahr
 400 South Hope Street                                     420 20th Street North, Suite 3400
 Los Angeles, CA 90071-2899                                Birmingham, AL 35203
 Telephone: (213) 430-6000                                 Telephone: (205) 251-3000




43921966 v1                                      2
Case 20-81688-CRJ11          Doc 185 Filed 08/04/20 Entered 08/04/20 16:08:12                  Desc
                               Main Document    Page 2 of 3
       PURPOSE OF CHAPTER 11 FILING. Chapter 11 of the Bankruptcy Code enables
debtors to reorganize or liquidate pursuant to a plan. A plan is not effective unless approved by
the Court at a confirmation hearing. Creditors will be given notice concerning any plan, or in the
event any of the Chapter 11 Cases are dismissed or converted to another chapter of the Bankruptcy
Code. The Debtors will remain in possession of their property and will continue to operate their
business unless a chapter 11 trustee is appointed.

        CREDITORS MAY NOT TAKE CERTAIN ACTIONS. A creditor is anyone to whom
the Debtors owe money or property. Under the Bankruptcy Code, the Debtors are granted certain
protections against creditors. Common examples of prohibited actions by creditors are contacting
the Debtors to demand repayment, taking action against the Debtors to collect money owed to
creditors or to take property of the Debtors and starting or continuing foreclosure actions or
repossessions. If unauthorized actions are taken by a creditor against the Debtors, the Court may
penalize that creditor. A creditor which is considering taking action against the Debtors or their
property should review section 362 of the Bankruptcy Code and may wish to seek legal advice.
The staff of the Clerk’s Office and the Debtors’ proposed counsel are not permitted to give you
legal advice.

        CLAIMS. Schedules of creditors will be filed by the Debtors in the Chapter 11 Cases
pursuant to Bankruptcy Rule 1007. Any creditor holding a scheduled claim, which is not listed as
disputed, contingent, or unliquidated as to amount, may, but is not required to, file a proof of claim
in these Chapter 11 Cases. Creditors whose claims are not scheduled or whose claims are listed
as disputed, contingent, or unliquidated as to amount and which desire to participate in these
Chapter 11 Cases or share in any distribution in the Chapter 11 Cases must file a proof of claim.
A creditor which desires to rely on the Debtors’ schedules of claims and liabilities has the sole
responsibility for determining that its claim is accurately listed therein. Separate notice of the
deadlines to file proofs of claim in the Chapter 11 Cases and proof of claim forms will be
provided to the Debtors’ known creditors. Proof of claim forms also are available in the Clerk’s
Office of any United States Bankruptcy Court, from the Court’s website at
www.alnb.uscourts.gov,        or     from      the     website       of     Prime         Clerk      at
https://cases.primeclerk.com/RemingtonOutdoor.

        DISCHARGE OF DEBTS. Confirmation of a chapter 11 plan may result in a discharge
of debts, which may include all or part of your debt. See 11 U.S.C. § 1141(d). A discharge means
that you may never try to collect the debt from the Debtors, except as provided in the plan. If you
believe that a debt owed to you is not dischargeable under section 1141(d)(6) of the Bankruptcy
Code, you must start a lawsuit by filing a complaint in the Clerk’s Office by the “Deadline to File
a Complaint to Determine Dischargeability of Certain Debtors” listed above. The Clerk’s Office
must receive the complaint and any required filing fee by that deadline.




43921966 v1                                       3
Case 20-81688-CRJ11           Doc 185 Filed 08/04/20 Entered 08/04/20 16:08:12                  Desc
                                Main Document    Page 3 of 3
